Exhibit C

Case 1:16-cv-01354-CCE-JEP Document 6-3 Filed 11/22/16 Page 1of3
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State of North Carolina
Department of Environment, Health, and Natural Resources
“Winston-Salem Regional Office

James G. Martin, Governor Margaret Plemmons Foster
William W. Cobey, Jr., Secretary Regional Manager

DIVISION OF ENVIRONMENTAL MANAGEMENT
GROUNDWATER SECTION

December 20, 1991

Mr. L. W. Pritchett, Jr.
1549 West Webb Avenue
Burlington, NC 27217

RE: FAIRCLOTH GROCERY
Route 6, Box- 55-J
Burlington, NC
Alamance County

Dear Mr. Pritchett:

Our office has become aware of groundwater contamination
existing within a residential drinking water supply well.
This well is located in close proximity to the above-
referenced site. The contamination is believed to have

resulted from a release of a petroleum product into the
groundwater,

We are currently working to identify the source of the

contamination. Faixrcloth Grocery is a primary potential
source,

Under 40 CFR (Code Of The Federal Register) 280.52, you are
required to confirm the presence or absence of a release
ee from the underground storage tank (UST) systems presently
, and previously located at this site. This information must
—_ be submitted to our office on or before.February...10, 1992.

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sonar It is strongly recommended that you conduct a site check as
“it spact described in 280.52(b). A site check will enable you to do
ZQUES physical sampling around your tanks and lines. This gives a
substantially better evaluation of whether there has been a
release from existing or previously existing USTs. Also,
this method allows you to assess whether surface spillage,
sept. W overfill, etc. have adversely impacted the backfill and
surrounding soils.

ssce, cn

  

8025 North Point Boulevard, Suite 100, Winston-Salem, N.C. 27106-3203 © Telephone HRRERIBXAX (918) 896-7007
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Case 1:16-cv-01354-CCE-JEP Document 6-3 Filed 11/22/16 Page 2 of 3
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Mr. L. W. Pritchett, Jr.
December 20, 1992
Page 2

If an adequate site check is not conducted on your site by
the date specified or if the information submitted is
inconclusive, then the Federal Trust Fund may conduct its
own investigation. Please note that should the Federal
Trust Fund take charge it will seek cost recovery from
parties responsible for the contaminate release, for any and
all expenses incurred.

Please notify me by telephone at least five working days
before the site check is undertaken so that we may have a
representative on the site. Do not hesitate to contact
Waddell Watters or me regarding any questions you may have
about this matter,

Sincerely,

Janet M. Russell
Hydrogeologic Technician

cc: Alamance County Health Department

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Case 1:16-cv-01354-CCE-JEP Document 6-3 Filed 11/22/16 Page 3 of 3
